Case 2:10-cv-08888-CJB-JCW Document 79354 Filed 04/20/11 Page 1 of 3,

IN RE: OIL SPILL by “Deepwater Horizon” Say,
DIRECT FILING SHORT FORM’ » ae
Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 YY i

(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 1 9-271 - eo ”
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MDL 2179 SECTION: J JUDGE CARL BARBIER
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2 cC LAI Fl M
By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et fa £
ai., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundie”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 {10 md 2179).
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Last Name : First Name Middle Name/Maiden Suifix
BARR JOYCE io. !
Phone Number E-Mail Address
(834) 347-6734 ce habarr@roadrunner.com |
Address : City / State / Zip
100 Tom Marrs Lane | Enterprise, At. 36330
:
INDIVIDUAL CLAIM (m) BUSINESS CLAIM (
“Employer Name wre mconacemumnanecemmmmanannnnnnnemnnmrannncnnns 01 | assests cecuen nunc nie inst
Job Title / Description Type of Business —
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City/State/Zip City / State / Zip
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
4165
eee ee ee eee eee errr ee re
Attorney Name : Firm Name
JEFF FRIEDMAN ea. | FRIEDMAN LEAK
Address : City / State / Zip
3800 CORPORATE WOODS DRIVE BIRMINGHAM, AL 35242
Phone Number . E-Mail Address
(205) 278-7000 jfriedman@friedmanleak.com /mconn@friedmanleak.com
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Claim filad with BP? ves (J NO il Claim Filed with GCCF?; YES [i NO []
ff yes, BP Claim No.: | if yes, Claimant Identification No.:
| Claim Type (Please check all that apply}:
Damage or destruction to reai or personal property oO Fear of Future Injury and/ar Medical Monitoring
OQ Earnings/Profit Loss Cl Loss of Subsistance use of Natural Resources
/ Oo Personal Injury/Death Oo Removal anc/or clean-up costs
oO Other:

| This form should be filed with the U.S. District Court for the Eastern District of Louisiana, S60 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888, While this Direct Filing Short Form is to be filed in CA No, 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MOL
2179), the filing of this form in CA. No, 10-8888 shali be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being
notified electronicatly by the Clerk of Court of the filing of this Short Form, shail promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79354 Filed 04/20/11 Page 2 of 3

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_ Brief Description:

1. For earnings/profit loss, property damage and lass of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For ciaims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 22510 Front Beach Road, Panama City, Bay
County, Florida 32413

2, For personal injury claims, describe the injury, how and when it was sustained, and identify ali health care providers and
employers 2008 to present and compiete authorization forms for each.

3. For post-explosion claims rejated to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2
The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79354 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

OO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or cystering.

C2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

O 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

0 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

5. Recraational sport fishermen, recreational diver, beachgoer, or recreational boater.
6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

OO @oada
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9. Bank, financial institution, or retail business thal suffered losses as a resuit of the spill.
CJ 10. Person who utilizes natural resources for subsistence.

(J 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

O 1. Boat captain or crew involved in the Vessels of Opportunity program.

C 2. Worker involved in decantaminating vessels that came into contact with oi and/or chemical dispersants.

O 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

O 4. Clean-up worker or beach personnel involved in clean-up activities alang shorelines and intercoastal and intertidal zones.
OO 5. Resident whe fives or works in close proximity to coastal waters.

OO 6. Other:

Both BP and the Guif Coast Claims Facility (“GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality {Pre-Trial Order No. 11), and subject to full copies of same being made available to both

"es fo - if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

JEFF FRIEDMAN

Print Name

QA

Date

3

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profite Form.
